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                                                 CRIMINAL COMPLAINT
                                                                      (Electronically Submitted)
                                                                                                   DISTRICT of ARIZONA
                      United States District Court
                                 United States of America                                          DOCKET NO.
                                             v.
                                 Javier ARANDA-Pinon                                               MAGISTRATE'S CASE NO.
                              DOB: 2004; United States Citizen
                                                                                                          24-08441MJ
                                             Complaint for violation of Title 18, United States Code, § 554(a)

On or about February 9, 2024, in the District of Arizona, Javier ARANDA-Pinon knowingly and fraudulently
exported and sent from the United States, and attempted to export and send from the United States, any
merchandise, article, or object contrary to any law or regulation of the United States, and received, concealed,
bought, sold, and in any manner facilitated the transportation, concealment, and sale of such merchandise, article
or object, that is: one (1) 30-30 caliber Marlin Firearm rifle, one (1) .243 caliber CZ rifle, one (1) 9mm Glock
handgun, and five (5) 9mm Glock magazines, knowing the same to be intended for exportation contrary to any
law or regulation of the United States, to wit: Title 50, United States Code, Section 4819; Title 15, Code of
Federal Regulations, Parts 736.2, 738, and 774; all in violation of Title 18, United States Code, Section 554(a).
BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

On February 9, 2024, at approximately 3:00 PM, Javier ARANDA-Pinon attempted to exit the United States
and enter the Republic of Mexico through the Lukeville Port of Entry in Lukeville, Arizona. Customs and Border
Protection Officers (CBPOs) were conducting outbound inspections when they stopped Javier ARANDA-
Pinon, who was the driver and registered owner of a white Chevrolet Silverado bearing Arizona temporary
license plate C691258. ARANDA-Pinon gave a negative declaration for guns, ammunition, or monetary
instruments of $10,000 USD or more. ARANDA-Pinon was allowed to continue southbound into the Republic
of Mexico.

At approximately 3:25 PM, ARANDA-Pinon approached the northbound lane at the Lukeville Port of Entry
attempting to re-enter the United States while driving the Chevrolet Silverado. ARANDA-Pinon told the primary
inspection CBPO that he was attempting to travel to Sonoyta, Mexico, but was refused entry into Mexico for
failure to possess a birth certificate. ARANDA-Pinon gave the CBPO a negative declaration for guns,
ammunition, or monetary instruments of $10,000 USD or more.

A CBPO began searching the interior of the Chevrolet Silverado. When the CBPO moved towards the rear end
exterior of the Chevrolet Silverado during his search, he observed ARANDA-Pinon through the rear-view
mirrors. While the CBPO was searching around the exterior rear end of the Chevrolet Silverado, he saw
ARANDA-Pinon looking at the CBPO through the rear-view mirrors while also texting on his/ARANDA-
Pinon’s cell phone. The CBPO looked at the underside of the bed of the Chevrolet Silverado and noticed two

(BASIS OF COMPLAINT CONTINUED ON REVERSE.)
MATERIAL WITNESSES IN RELATION TO THE CHARGE: N/A
DETENTION REQUESTED                                                                                SIGNATURE OF COMPLAINANT
    Being duly sworn, I declare that the foregoing is
    true and correct to the best of my knowledge.

AUTHORIZED BY AUSA Raquel Arellano                                                                 OFFICIAL TITLE
                                                                                                   HSI Special Agent Adrian Cabral
Sworn by telephone _x__
SIGNATURE OF MAGISTRATE JUDGE1)                                                                    DATE
                                                                                                   February 12, 2024
  1)   See Federal Rules of Criminal Procedure Rules 3, 4.1, and 54
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(BASIS OF COMPLAINT’S CHARGE AGAINST THE ACCUSED CONTINUED.)


rifle bags tied down to the chassis where the spare tire is usually held. When the CBPO approached ARANDA-Pinon
to effect an arrest, ARANDA-Pinon quickly flung his silver iPhone towards the front passenger area of the Chevrolet
Silverado. ARANDA-Pinon was then detained and placed under arrest.

The white Chevrolet Silverado was sent to the Z-Portal for an X-ray inspection. Using the Z-Portal, a CBPO observed
anomalies located at the rear underside of the Chevrolet Silverado that appeared to be the rifle bags initially observed
by the primary inspection CBPO. The Chevrolet Silverado was sent to the secondary inspection area where the
vehicle was placed on a lift. Once the Chevrolet Silverado was lifted, a CBPO observed two rifle bags tied down to
the chassis with metal wires. Once the metal wiring was cut, the two rifle bags were removed and opened revealing
one (1) 30-30 caliber Marlin Firearm rifle, one (1) .243 caliber CZ rifle, one (1) 9mm Glock handgun, and five (5)
9mm Glock magazines.

The firearms and magazines found in ARANDA-Pinon’s vehicle qualify as United States Commerce Control List
items and therefore are prohibited by law for export from the United States into Mexico without a valid license.
ARANDA-Pinon did not possess a license to export firearms or ammunition from the United States.
